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Tn a Terie to Te Ta ber —

Debtorname _PLAYERSNETWORK

 

United States Bankruptcy Court for the: DISTRICT OF NEVADA

 

Case number (if known) 20-12890-MKN

 

~ | Check if this is an
amended filing

 

Official Form 425A
Plan of Reorganization for Small Business Under Chapter 11 02/20

PLAYERS NETWORK '‘'s Plan of Reorganization, Dated June 18, 2020

 

Background for Cases Filed Under Subchapter V
A. Description and History of the Debtor's Business

Players Network's primary business is focused on television, video and new media production, delivery platforms and content. Initially founded to
develop, produce, and provide an in-room gaming network the Company subsequently created what we believe to be the world’s first 24-hour digital
tapeless, Video on Demand television broadcast, “Vegas on Demand” and produced over 2,900 original videos and television series ranging from
short form programming videos to full episodic broadcast series. Players Network has been servicing the Las Vegas lifestyle industry since its
formation date of March 16, 1993. Its clients include major companies such as MGM Grand, Caesars Entertainment, Golden Gaming, Stations
Casinos as well as manufacturers such as |GT Williams and Aristocrat. Distribution partners for Players Network also include Comeast
Cemmunications, AT&T, Verizon Wireless, Dish Network, DirecTV, Google and Hulu among many others.

Most recently, the company has leveraged its media background to diversify its holdings Into other emerging industries including developing brands
for CBD and cannabis. To date, such holdings have not generated any revenue for the Debtor. The company plans to continue to utilize its original
production and expertise in technology to develep additional vertically integrated lifestyle channels, including the relaunch of Vegas Entertainment,
Heaith and Fitness as well as live events.

Many small cap, development stage companies, including Players Network, have limited avenues to raise capital. One of those methods is via
public convertible debt which is offered to companies such as ours by a number of investment funds.

From time to time we entered Into loan agreements using the capital for the development and growth of the company, Many of these loans worked
well for both the company and the funds providing tne loans. Several, however, turned out to be predatory and toxic both in the way they were
presented to us and in the actions of the debt holders. In several cases, interest and what the company believes to be manufactured defaults,
resulted In costs exceeding 80% per year. This was exacervated by stock conversions that destroyed the company’s share price resulting in a
market cap loss of over $40 million.

As outlined in our filings, the COVID 19 pandemic essentially shuttered business in Las Vegas and eliminated our primary sources of revenue
including production and marketing services leaving us with no option but to file for reorganization, However, as a part of those proceedings the
company has also taken a legal stance io resolve the four worst of these toxic loans.

B. Liquidation Analysis
In the event of any adjudication into a straight bankruptcy liquidation proceeding, the Debtor would suggest to creditors that they will be able to fook
for recovery from property sold by the Trustee only at a straight liquidation sale. A liquidation analysis is attached to the Plan as Exhibit 1.The
Debtor alleges and proposes that the value which it would receive for its property in liquidation would be substantially less than would be received
through a plan of reorganization, yielding a diminished recovery, especially for general unsecured creditors, for the following reasons:

(1) Administrative expenses would be paid on a priority basis and before the general, unsecured creditors would receive any funds.
Administrative expenses fn liquidation proceedings often amount to between 10% and 25% of the value of the property liquidated. In this case, a
substantial amount of potential equity could be “eaten up" by administrative expenses and court costs incurred with the liquidation proceedings,
which would probably exceed the administrative expenses in a reorganization proceeding.

(2) A forced sale of the property owned by Debtor, through a straight bankruptcy proceeding, rather than an orderly realization of value in a
reorganization proceeding, may erode considerably the potential value of the Debtor's assets for junior lienholders and unsecured creditors. For
example, a bankruptcy trustee in a straight liquidation bankruptcy proceeding would be forced to sell the property at public auction and the
bankruptcy trustee would probably not be able to quarantee that the prices paid for the assets would be reasonable or appropriate to the value paid
by the Debtor; rather, the prices paid might have to be in cash and at a reduced market value price. The liquidation value has been calculated at
approximately $208,000.00

C. Ability to make future plan payments and operate without further reorganization

The Plan Proponent must also show that it will have enough cash over the life of the Plan to make the required Plan payments and operate the
debtor’s business.

The Plan Proponent has provided projected financial information as Exhibit 2.

The Plan Proponent’s financial projections show that the Debtor will have projected disposable income (as defined by § 1191(d) of the Bankruptcy
Code) far the period described in § 1197(c)(2) of $197,284.55 over the next three (3) years.

The final Plan payment is expected to be paid on June 2025 .
You should consult with your accountant or other financial advisor if you have any questions pertaining to these projections.

P| Article 1: Summary

This Plan of Reorganization (the Plan) under chapter 11 of the Bankruptey Code (the Code) proposes to pay creditors of PLAYERS NETWORK (the
Debtor} from future income,

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Debtor

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PLAYERS NETWORK

Name

This Plan provides for:

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0 classes of priority claims;
_0 classes of secured claims;
_1 classes of non-priority unsecured claims; and
_1 classes of equity security holders.

Non-priority unsecured creditors holding allowed claims will receive distributions, which the proponent of this Plan has valued at approximately $0.04
cents on the dollar. This Plan also provides for the payment of administrative and priority claims.

All creditors and equity security hoiders should refer to Articles 3 through 6 of this Plan for information regarding the precise treatment of thelr claim. A
disclosure statement that provides more detailed information regarding this Plan and the rights of creditors and equity security holders has been

circulated with this Plan.

Your rights may be affected. You should read these papers carefully and discuss them with your attorney, if you have one. (If you do not have
an attorney, you may wish to consult one.) Any payments under the Plan for services rendered or costs or expenses shall be approved by the
court and paid through the Trustee. After confirmation, current directors and officers, as disclosed in the schedules, shall continue their
current positions. Debtor believes that the continuances of such officers and directors, in such offices, is consistent and equity security
holders. Administrative claims shall be paid upon court approval, by the Trustee, in advance of any payment to unsecured creditors, but may
be paid pro rata after confirmation. Administrative claims are expected to consist of Trustee and U.S. Trustee fees and expenses of the
attorney for the Debtor-in-Possession,

a Article 2: Classification of Claims and Interests

 

 

 

2.01 Class 1 Oversecured creditors as listed in Article 4.

202 Class 2 The claims of undersecured creditors listed as Class 2 Creditors of Article 4, to the extent allowed as a secured claim
under § 506 of the Code.

2.03 Class3 All non-priority unsecured claims allowed under § 502 of the Code,

2.04 Class 4 Interests of shareholders.

 

are Article 3: Treatment of Administrative Expense Claims, Priority Tax Claims, and Quarterly and Court Fees

 

 

 

 

301 Unclassified claims Under section § 1123(a)(1)}, administrative expense claims, and priority tax claims are not in classes.

3.02 Administrative expense Each holder of an administrative expense claim allowed under §503 of the Code will be paid in full from monthly

claims payments from Debtor, through the Trustee.

3.03 Priority tax claims Each holder of a priority tax claim will be paid within 5 years after the order for relief. Non are known at this time.

3.04 Statutory fees All fees required to be paid by 28 U.S.C. §1930(a\(6) (U.S. Trustee Fees) will accrue and be timely paid until the case is
closed, dismissed, or converted to another chapter on the Code. Any U.S. Trustee fees owed on or before the effactive
date of this plan will be paid on the effective date.

3.05 Prospective quarterly fees All quarterly fees required to be paid under 28 U.S.C. § 1930(a)(6) or (a)(7) will accrue and be timely paid until the case

is closed, dismissed, or converted to another chapter of the Code

 

ae Article 4: Treatment of Claims and Interests Under the Plan

4,01

Claims and interests shall be treated as follows under this Plan:

Official Form 425A

 

 

 

“Glass ee a impairment. co “Treatment ©
Class 1 - Priority claims Impaired NIA
excluding those in Article 3
g __] Unimpaired
Class 2 - Secured claim of _-] Impaired NIA
Unimpaired
Class 3 — Non-priority lz! Impaired Unsecured Creditors will be paid 4% of their allowed claims
unsecured creditors ' ' over the life of the Plan, which is requested to extend over
__] Unimpaired

five years. Debtor is qualified for a three-year plan, however,
it has elected to pay disposable income over five years
pending court approval. Plan payments are $2,000.00 for the
first six months, then payments will increase to $4,403.42 for
fifty-four months for a total of five years.

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Class 4 - Equity security “| Impaired Ail current shareholders shall retain their current interests
holders of the Debtor (vl Unimpalrad unimpaired by the Plan.

RRP article 5: Alowance and Disallowance of Claims

5.01 Disputed Claim A disputed claim is a claim that has not been allowed or disaflowed [by a final non-appealable order], and as to which alther:
(i) a proof of clalm has been filed or deemed filed, and the Debtor or another party in interest has filed an objection: or
{ii} no proof of claim has been filed, and the Debtor has scheduled such claim as disputed, contingent, or unliquidated.
Andrew H. Orgei
Auctus Fund, LLC
Black Mountain Equities, Inc.

Gemini Finance Corp.

Katherine Petersen

LG Capital Funding, LLC c/o Joseph Zelmanovitz, Esq.
Michael S. Pratter

Sea Otter Global Ventures

Todd Peterson

 

5.02 Delay of distribution ona Ne distribution will be made on account of a disputed claim unless such claim is allowed [by a final nen-appealable order].
disputed claim

 

5.03 Settlement of disputed The Debtor will have the power and authority to settle and compromise a disputed claim with court approval and
claims compliance with Rule 9019 of the Federal Rules of Bankruptcy Procedure,

 

 

Article 6; Provisions for Executory Contracts and Unexpired Leases

6.01 Assumed executory (a) The Debtor assumes, and if applicable assigns, the following executory contracts and unexpired leases as of the
contracts and unexpired effective date: N/A
leases

 

(b} Except for executory contracts and unexpired leases that have been assumed, and if applicable assigned, before the
effective date or under section 6.01(a) of this Plan, or that are the subject of a pending motion to assume, and if
applicable assign, tha Debtor will be conclusively deemad to have rejected all executory contracts and unexpired
leases as of the effective date.

A proof of a claim arising from the rejection of an executory contract or unexpired Jease under this section must be
filed no Sater than days after the date of the order confirming this Plan.

 

 

a Article 7: Means for Implementation of the Plan

All disposable income received by Debtor will be devoted to payments to Unsecured Creditors. This "current monthly
income" of Debtor will be utilized to pay unsecured creditors as required by the confirmed Plan over the 60 month
disposable income period.

 

Meee Article 8: General Provision

 

8.01 Definitions and rules of The definitions and rules of construction set forth in §§ 101 and 102 of the Code shail apply when terms defined or

 

construction construed in the Code are used in this Plan, and they are supplemented by the following definitions: N/A
8.02 Effective Date The effective date of this Plan is the first business day following the date that is 14 days after the eniry of the confirmation

order. If, however, a stay of the confirmaticn order is in effect on that date, the effective date will be the first business day
after the date on which the stay expires or is otherwise terminated.

 

8.03 Severability lf any provision in this Plan is determined to be unenforceable, the determination will in no way limit or affect the
enforceability and operative effect of any other provision of this Plan.

 

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Debtor PLAYERS NETWORK Case number (#krown) _20-12890-MKN
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8.04 Binding Effect: The rights and obligations of any entity named or referred to in this Plan will be binding upon, and will inure to the benefit

of the successors or assigns of such entity.

 

 

8.05 Captions The headings contained in this Plan are for convenience of reference only and do not affect the meaning or interpretation
of this Plan.
(8.06 Controlling Effect Unless a rule of law or procedure Is supplied by federal law (including the Code or the Federal Rules of Bankrupicy

Procedure), the jaws of the State of Nevada govern this Plan and any agreements, documents, and instruments
executed in connection with this Plan, except as otherwise provided in this Plan.

 

[8.07 Corporate Governance Debtor has prohibited future issuances of non voting securities via Corporate Resolution dated June 16, 2020. A copy of said
Corpcrate Resolution Is attached hereto as Exhibit 3.

 

[8.08 Retention of Jurisdiction The Court retains jurisdiction of for purposes of applications for compensation, objections to claims and other
administrative matters until the final decree has been entered.

 

  

F im Article 9: Discharge

Confirmation of this Plan does not discharge any debt proved far in this Plan until the court grants a discharge on completion of all payments under this PLan, or as
otherwise provided in §1192 of the Code. The Debtor will not be discharged from any debt excepted for discharge under §523 of the Code, except as proved in
Rule 4007 (c) of the Federal Rules of Bankruptcy Procedure.

 

lf the Debtor's Plan is confirmed under § 1191(a), on the effective date of the Plan, the Debtor will be discharged from any debt that arose before confirmation of
this Plan, to the extent specified in § 1141(d)(1)(A) of the Code, except that the Debtor will not be discharged of any debt:

(i} imposed by this Plan; or
(ii) to the extent provided in § 1141(d)(6).

If the Debtor's Plan is confirmed under § 1191(b), confirmation of this Pian does not discharge any debt provided for in this Plan until the court grants a discharge
on completion of all payments due within the first 3 years of this Plan, or as otherwise provided in § 1192 of the Cade. The Debtor will not be discharged from any
debt:

(i) on which the last payment is due after the first 3 years of the plan, or as otherwise provided in § 1192;
or
(ii) excepted from discharge under § $23(a} of the Code, except as provided in Rule 4007(c) of the Fedoral Rules of Bankruptcy Procedure,

ae Article 10: Other Provisions

1. Default, In case of failure to make a payment provided for under this Plan, then, after 15 days notice given by the Trustee or affected creditor to the Debtor and
Debtor's attorney, unless cured within said time, Debtor shall be deemed to be in default under thisPlan.

2. Lien Avoidance. To the extent any lien is determined as totaly unsecured, under this Plan, said lien shall be avoided in full upon discharge of the Debior.
3, Prepayment. The Debtor may prepay any Allowed claims under the Plan in advance without prepaymentpenalty.

4, Modified Treatment A holder of an Allowed claim in any Class may voluntarily agree to a less favorable treatment of its claim than is as set forth in the Plan;
provided, however, that any agreement to modify the treatment of a credtor's claim must be In writing and signed by the creditor/claimant.

5. Interest Rate. Unless otherwise specified, all interest to be paid under the Plan shall be pald at the federal judgment rate per 28 U.S.C. § 1961.

6, Disallowance of Claims Not Allowed and Tardy Proofs of Glaim, The occurrence of the Effective Date shall operate to disallow and expunge any claims of any
creditor who received actual notice of the Chapter 11 Case and that: (a) were not listed on the Debtor's filed bankruptcy schedules and for which no proof of claim
was filed on or prior to the Bar Date; (b) were listed on the Debtor's schedules as disputed, contingent or unliquidated, and for which no proof of claim was filed on
or prior to the Bar Date; (c) are the subject of a proof of claim for a pre-petition claim that was filed after the Bar Date.

7, Elimination of Vacant Classes. Any class of claims that is nct occupied as of the date of the commencement of the confirmation hearing by an Allowed claim or a
claim temporarily Allowed under Fed.R.Banr.P. 3018 shall ba deemed eliminated from the Plan for purposes of voting to accept or reject the Plan and for purposes
of determining acceptance or rejection of the Plan by such class pursuant to the Code.

8. Cure Claims. Any party fo an executory contract or unexpired iease who objects te the cure amounts listed in Section 6.1 must file and serve an objection
thereto by no later than the deadline set by the Bankruptcy Court for filing objections to the Plan. Failure fo file and serve a timely objection shall be deemed
consent fo the cure amounts listed in Section 6.1.

9. Plan Distributions:
a) If the Plan is confirmed on @ consensual basis pursuant to § 1191(a) of the Code, then: (a)the Subchapter V Trustee will be terminated upon
substantial consummation pursuant to §1183 of the Code; and () the Reorganized Debtor shall make all payments as required under the Plan.

b)} If the Plan Is confirmed on a non-consensual cr “cramdown" basis pursuant to §1191(b) of the Code, then the Reorganized Debtor shall provide for
the submission of all or such portion of its future earnings, income and otherwise accessible funds as is necessary for the execution of the Plan, but
shall remain in charge of distributions directly to creditors Under the Plan.

10. Compensation of Subchapter V Trustees, The Subchapter V Trustee shall be entitled to reasonable compensation of fees for services rendered and
reimbursement of actual and necessary expenses incurred through the Effective Date pursuant to and consistent with §330(a)(1) of the Code.

11. Default Under Plan; Remedies. The confirmed Plan is binding on every creditor whose claims are provided for in the Plan. Therefore, even though the
automatic stay terminates on the Effective Date with respect to claims, no creditor may take any action to enforce either the pre-confirmation obligation or the
obligation due under the Plan, so long as the Debtor is not in "Material Default" under the Plan. In the event the debtor fails to timely perform any of the

 

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Debtor PLAYERS NETWORK Case number (if known) _20-12890-MKN

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obligations set forth in the Plan from and after the Effective Date, the applicable creditor or party-in-interest shall notify the Debtor and the Debtor's Counsel via
email per the email addresses below, as well as the Subchapter V Trustee Ted Burr of the default in writing in accordance with the notice of provisions herein. If the
Debtor fails within thirty (30) calendar days after the date of email of the notice of default either: (ito cure the default; (ito obtain from the Bankruptcy Court an
extension of time to cure the default, which shall be given for good cause shown If the cure reasonably requires more than thirty (30) days to cure and the Debtor
initiates reasonable steps to begin such cure and completes all reasonable and necessary steps to cure sufficient to produce compliance as socn as reasonably
practical; or (iii) to obtain from the Bankruptcy Court a determination that no default occurred, then Debtor is in "Material Default” under the Plan to all the members
af the affected Class. If the Debtor fails to timely cure the default as provided above, the applicable creditor shall be free to pursue any and all rights and remedies it
may have under the contract(s) between the parties and/or applicable law, as modified by the PLan, and without further action by or proceeding before the
Bankruptcy Court. Upon Material Default, any member of a class affected by the default: (i)may file and serve a motion to dismiss the case or to convert the case
to chapter 7; or (ii) without further order of the Court has relief from automatic stay to the extent necessary, and may pursue Its lawful remedies to enforce and
collect the obligations owing to it under the Plan.

12. Discharge. Upon the completion of its payment obligations uncer the Plan, the Debtor shall seek a discharge pursuant to §1192 of the Code.

13. Governing Law. Except to the extent that the Cade or other federal law is applicable or as provided in any contract, instrument, release or other agreement
entered into in connection with the Plan or in any document which remains unaltered by the Plan, the rights, duties and obligations of Debtor and any other person
arising under the Plan shall be governed by, and construed and enforced in accordance with, the internal laws of the State of Nevada without giving effect to
Nevada's choice of law provisions.

14, Entire Agreement, The Plan, as described herein, and exhibits hereto, set forth the entire agreement and understanding of the parties hereto reiating to the
subject matter hereof and supersede all prior discussions and documents. No party hereto shall be bound by any terms, conditions, definitions, understandings or
representations with respect to the subject matter hereof, other than as in expressly provided for herein or as may hereafter be agreed by the parties in writing.

15. Effectuating Documents, Further Transactions. On and after the Effective Date, the Debtor is authorized to and may issue, execute, deliver, file, or record such
contracts, instruments, releases, and other agreements or documents and take such actions as may be necessary or appropriate to effectuate, implement, and
further evidence the terms and conditions of the Plan in the name of and on behalf of Debtor, as applicable, without the need for any approvals, authorizations, or
consents except for those expressly required pursuant of the Plan.

Respectfully submitted,

 

 

 

 

X /s/Mark Bradley MARK BRADLEY
MARK BRADLEY MARK BRADLEY
X/s/Thomas E, Crowe Thomas E. Crowe
THOMAS E. CROWE Thomas E. Crowe

EXHIBITS TO PLAN
Exhibit 1: Debtor's Liquidation Analysis
Exhibit 2: Debtor's Income/Expense Projection for 3 Years

Exhibit 3: Corporate Resolution

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Exhibit 1

 
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LIQUIDATION ANALYSIS
Item Current Value | Liens Liquidation
Value

Debtor in Possession Bank | $ $0.00 $
Account

Company Shares (Treasury | $288,000.00 $0.00 $0.00
Stock)
Audio Computers $10,000.00 $0.00 $10,000.00
Civil Lawsuit against $150,000.00 $0.00 $150,000.00
Katherine Petersen
Civil Lawsuit against Todd | Unknown
Peterson
Video Library of Old Las | $48,000.00 $0.00 $48,000.00
Vegas Entertainment
NexgenTV — Content Delivery | Unknown

System

Totals $496,000.00 $0.00 $208,000.00*

 

 

 

 

 

 

 

*Unless a Plan can be confirmed, stock is worthless.

 
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Exhibit 2

 
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SCHEDULE OF MONTHLY PROJECTED CASH FLOWS FOR JULY 1, 2020
THROUGH JUNE 30, 2023

11.01 Financial Projections,

7/1/2020- W1/2021- 7/1/2022-
6/30/2021 6/30/2022 6/30/2023
Projected Income:

1. Business Income $13,750.00 $14,025.00 $14,305.50

TOTAL: $13,750.00 $14,025.00 $14,305.50
Cost of Goods $556.71 $567.85 $579.20
Projected Expenditures: $6,391.77 $6,519.60 $6,649.99
Estimated Admin. Expenses: $1,416.67 $1,458.33 $1,500.00
Monthly net income: $5,384.85 $5,479.22 $5,576.31
Summary of PDI by year: $64,618.20 $65,750.64 $66,915.65
TOTAL PDF: $197,284.55

1= income is projected to increase at 2% per annum based on historical norms.
2= generally based upon 2% inflation estimate.

 
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Exhibit 3

 
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RESOLUTION IN LIU OF DIRECTORS' MEETING
‘THE UNDERSIGNED, being the Board of Directors of PLAYERS NETWORK, a

Nevada corporation, in lieu of a Directors! meeting, hereby consent to the following resehition:

RESOLVED, tbat the Corporation hereby approves and agrees that the business is
prohibited from issuing future non-voting securities while the Chapter 1! Plan
Confirmation is ongoing.

ITIS FURTHER RESOLVED that the Corporation may continue to issue non-voting
securities once the Chapter 11 Plan is confirmed,

I

DATED this 8" day of June, 2020

PLAYERSNETWORK, INC.

Jued
MARK BRADLEY
DIRECTOR

Ee op

BRETT POJUNIS
DIRECTOR

 

MICHAEL BERK
DIRECTOR

 

 
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RESOLUTION IN LIEU OF DIRECTORS' MEETING
THE UNDERSIGNED, being the Board of Directors of PLAYERS NETWORK, a

Nevada corporation, in lieu of a Directors’ meeting, hereby consent to the following resolution:

RESOLVED, that the Corporation hereby approves and agrees that the business is
prohibited from issuing future non-voting securities while the Chapter 11 Plan
Confirmation is ongoing.

IT IS FURTHER RESOLVED that the Cotporation may continue to issue non-voting
securities once the Chapter 11 Plan is confirmed.

DATED this *°"" day of June, 2020

PLAYERSNETWORK, INC.

_ Ld Bol

MARK BRADLEY
DIRECTOR

 

BRETT POJUNIS
DIRECTOR [Hct by:

Mizhael Bak
624 C8DA1I0B44G4.,,

MICHAEL BERK 6/16/2020
DIRECTOR

 

 

 
